Case 6:24-cv-00270-AM-DTG   Document 44-11   Filed 03/20/25   Page 1 of 7




              EXHIBIT K
Case 6:24-cv-00270-AM-DTG   Document 44-11   Filed 03/20/25   Page 2 of 7
Case 6:24-cv-00270-AM-DTG   Document 44-11   Filed 03/20/25   Page 3 of 7
Case 6:24-cv-00270-AM-DTG   Document 44-11   Filed 03/20/25   Page 4 of 7
Case 6:24-cv-00270-AM-DTG   Document 44-11   Filed 03/20/25   Page 5 of 7
Case 6:24-cv-00270-AM-DTG   Document 44-11   Filed 03/20/25   Page 6 of 7
Case 6:24-cv-00270-AM-DTG   Document 44-11   Filed 03/20/25   Page 7 of 7
